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                          Nos. 23-13085 & 23-13095
                        United States Court of Appeals
                                    for the
                               Eleventh Circuit


                        IN RE: GEORGIA SENATE BILL 202
                 ___________________________________
               On Appeal from the United States District Court
                     for the Northern District of Georgia
                        No. 1:21-mi-55555 (Broulee, J.)


     BRIEF OF CENTER FOR ELECTION CONFIDENCE, INC.
AS AMICUS CURIAE IN SUPPORT OF DEFENDANT-APPELLANTS AND
           INTERVENOR-DEFENDANTS-APPELLANTS



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                             Nos. 23-13085 & 23-13095
                           In re: Georgia Senate Bill 202
     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT

      Pursuant to Fed. R. App. Proc. 26.1 and 29 and 11th Cir. Local R. 26.1-1,

Counsel for Amicus Curiae Center for Election Confidence, Inc. (CEC) certifies that,

in addition to those persons identified by Plaintiff-Appellees, Defendant-Appellants,

and Intervenor-Defendant-Appellants, the following persons may have an interest in

the outcome of this appeal:

      1. Center for Election Confidence, Inc. (Amicus Curiae)

      2. Stephen P. Fuller (Counsel for Amicus Curiae)

      Amicus further certifies that it is a non-profit, 501(c)(4) organization. It is not

a publicly held corporation, has no parent companies or subsidiaries, and it neither

owns, nor is owned by, any of the parties in this case.




                                               /s/ Stephen P. Fuller
                                               Stephen P. Fuller
                                               Counsel for Amicus Curiae




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                             STATEMENT OF ISSUES

  1. Whether the district court erred when it facially enjoined part of a Georgia

     election law, citing the First Amendment, that prohibits conduct rather than

     expression.

  2. Whether the district court erred when it enjoined, as violating the Materiality

     Provision of the Civil Rights Act, enforcement of Georgia’s law requiring

     absentee voters to include their birthdate on the outer, return envelope of an

     absentee ballot. See 52 U.S.C. § 10101(a)(2)(B).



  This amicus brief seeks to educate the Court solely on the second issue.




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                          INTEREST OF AMICUS CURIAE 1

      Center for Election Confidence, Inc. (CEC) is a non-profit organization that

promotes ethics, integrity, and professionalism in the electoral process. CEC works

to ensure that all eligible citizens can vote freely within an election system of

reasonable procedures that promote election integrity, prevent vote dilution and

disenfranchisement, and instill public confidence in election systems and outcomes.

To accomplish these objectives, CEC conducts, funds, and publishes research and

analysis regarding the effectiveness of current and proposed election methods. CEC

is a resource for lawyers, journalists, policymakers, courts, and others interested in

the electoral process. CEC also periodically engages in public-interest litigation to

uphold the rule of law and election integrity and files amicus briefs in cases where

its background, expertise, and national perspective may illuminate the issues under

consideration.

      With respect to the intersection of election integrity laws and the Materiality

Clause of the Civil Rights Act, CEC (when previously named Lawyers Democracy

Fund) submitted an amicus brief to the U.S. Supreme Court in Ritter v. Migliori,

advocating for vacatur of the Third Circuit’s unprecedented opinion in Migliori v.




1
 Center for Election Confidence sought consent to file this amicus brief but at time
of filing, has received a reply – in the affirmative – only from Intervenor-
Defendant-Appellants.
                                             2
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Cohen, 36 F.4th 153 (3d Cir.), judgment vacated sub nom Ritter v. Migliori, 143 S.

Ct. 297 (2022). CEC also submitted an amicus brief to the Supreme Court of

Pennsylvania in Ball v. Chapman, 289 A.3d 1 (Pa. 2023), advocating that the state

high court respect the policy judgments of the state’s General Assembly and enforce

the signature and date requirement for absentee ballots. Both courts ruled in favor of

the positions advocated by CEC. Relevant for this Court, CEC also filed an amicus

brief in Disability Rights Florida v. Secretary, State of Florida, currently pending a

hearing by the merits panel. See Doc. No. 77 in Case No. 23-13727.

      As CEC argued in the U.S. Supreme Court, the position advocated by the

Plaintiffs-Appellants would effectively replace the well-established Anderson-

Burdick test with an unprecedented and erroneous legal theory so broad in its import

that it would invalidate an array of quotidian ballot-casting rules and open a

Pandora’s Box of novel legal challenges to reasonable election administration

methods around the country. It also would countermand the Supreme Court’s ruling

in Brnovich v. Democratic National Committee, 594 U.S. 647 (2021). For these

reasons, CEC’s interest in preserving sound jurisprudence and reasonable regulation

of election administration is directly implicated.




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                            SUMMARY OF THE ARGUMENT

      Election administration laws can be divided into several distinct categories,

including:

      (a) The pre-election phase: laws regulating voter qualifications, voter

          registration, and voter rolls;

      (b) The election phase: laws regulating ballots and vote casting; and

      (c) The post-election phase: laws regulating vote tabulation and reporting.

Congress intended for the Materiality Clause of the Civil Rights Act, 52 U.S.C.

§ 10101(a)(2)(B) (the “Materiality Provision”), to apply to the first category, voter

qualifications and registration, to preempt certain, specific practices states employed

to discriminate against prospective voters. Congress never intended for the

Materiality Provision to apply to other categories of election administration laws,

especially those related to vote casting and ballots.

      Efforts, such as the District Court’s decision, to expand the Materiality

Provision into the vote-casting process ignore Congressional limitations and

endanger all state laws enacted to safeguard the integrity of the ballot box and instill

public confidence in election procedures and results. The Materiality Provision has

not been applied to those phases of election administration in the sixty years since

its enactment. Yet, Appellees’/Cross-Appellants’ legal theory, as adopted by the

District Court, would likely invalidate an array of essential and/or desirable state

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rules designed to protect the integrity of the vote-casting, tabulation, and reporting

processes, leaving large gaps in election administration.

      Moreover, by applying the Materiality Provision to a broad range of vote-

casting rules, the District Court’s decision effectively renders voter qualification the

sole acceptable state interest in regulating ballots and thereby prohibits virtually any

regulation of how a qualified voter casts a ballot. In re Georgia Senate Bill 202,

2023 WL 5334582, *9-10 (N.D. Ga. Aug. 18, 2023) (returning an absentee ballot

and completing the outer envelope are both acts “requisite to, or essential to,

completion of the act of voting”). That theory would leave states no legitimate room

to impose any mundane regulations on balloting such as marking ballots with pens

or pencils (not crayons); utilizing a standard envelope to mail ballots; signifying on

absentee envelopes that a voting ballot is enclosed; and requiring, or barring

improper markings on, a secrecy envelope. These and other rules are immaterial to

determining a voter’s qualifications to register but indispensable to sound election

administration.

      The District Court did not have the benefit of several well-reasoned opinions

affirming states’ authority to enact laws governing the vote-casting process and

rejecting application of the Materiality Provision to those processes. See Penn. State

Conf. of NAACP Branches v. Schmidt, 97 F.4th 120 (3rd Cir. 2024); Vote.org v.

Callanen, 89 F.4th 459 (5th Cir. 2023); Vote.org v. Byrd, ___ F. Supp. 3d ___, 2023

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WL 7169095 (N.D. Fla. 2023). The Third Circuit’s Schmidt decision distinguishes

between voter registration and qualifications, on the one hand, and the vote-casting

process on the other. The Fifth Circuit’s and Northern District of Florida’s decisions

find a wet signature requirement for voter registration forms to be material, and thus

outside the purview of the Materiality Provision.

      The Supreme Court, too, has clarified that courts must afford state legislatures

broad deference when evaluating whether certain practices violate federal statutory

or constitutional standards. Indeed, the Supreme Court recognizes that states have a

“strong and entirely legitimate” interest in ensuring the integrity of an election and

building public confidence “in the fairness of elections and the perceived legitimacy

of the announced outcome.” Brnovich, 594 U.S. at 672. See also Crawford v. Marion

Cnty. Election Bd., 553 U.S. 181 (2008). Those legitimate state interests are

subverted under the District Court’s application of the Materiality Provision which

focuses solely upon voter registration.

      Center for Election Confidence urges this Court to reject Appellees’ and

Cross-Appellants’ attempts to expand the reach of the Materiality Provision beyond

its intended application to voter qualification and registration and overturn the

District Court’s decision.




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                                     ARGUMENT

      The Materiality Provision clearly applies to the processes by which states

determine voter eligibility and the qualifications to register to vote, not to rules

governing the process by which ballots are cast or counted. The Provision reads, in

pertinent part:

      No person acting under color of law shall…(B) deny the right of any
      individual to vote in any election because of an error or omission on
      any record or paper relating to any application, registration, or other act
      requisite to voting, if such error or omission is not material in
      determining whether such individual is qualified under State law to
      vote in such election.
52 U.S.C. § 10101(a)(2)(B) (emphasis added).

      When evaluating claims that a state’s election administration practices violate

the Materiality Provision, courts must first determine where the practices fit within

the electoral process. If the practices do not determine voter qualifications or

registration, the Provision does not apply. Efforts to expand the application of the

Materiality Provision to include state laws regulating the casting of ballots threaten

all state laws governing how citizens must return ballots if those laws are not

“material” to the individual’s qualification to vote. Such a position is illogical and

countermands the Supreme Court’s Crawford and Brnovich decisions, both of which

sustained state election laws regulating vote-casting (without reference to the

Materiality Provision).



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        State laws enacted to enhance public confidence and enhance integrity in

elections can be harmoniously interpreted with the Materiality Provision (and other

existing federal standards, such as the National Voter Registration Act). Courts that

recognize the text, history, and purpose of the Provision understand Congress

enacted it to prevent very specific practices and discrimination states used to prevent

individuals from registering to vote. The Provision does not apply to any other

category of election law, such as those regulating the casting or return of ballots, and

ballot tabulation and reporting. When courts place the Materiality Provision within

the proper category of election laws, they can harmonize federal and state standards

along with Supreme Court jurisprudence.

   A.      The Plain Text of the Materiality Provision Limits Application
           to Voter Qualifications and Registration
        The Materiality Provision applies only to “any application, registration, or

other act requisite to voting” and only if an “error or omission is not material in

determining whether such individual is qualified under State law to vote in such

election.” Phrases or words like “material,” “error or omission,” and “in

determining” are significant in the Provision. As identified by the Third Circuit,

those words and phrases “drive[] the interpretation of the rest of the statute.…But

the text does not say the error must be immaterial ‘to’ whether an individual is

qualified to vote. It uses the words ‘in determining’ and that choice must mean

something.” Penn. State Conf. of NAACP Branches, 97 F.4th at 131.
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      Generally, the Provision targets “the practice of requiring unnecessary

information for voter registration with the intent that such requirements would

increase the number of errors or omissions on the application forms,” and it therefore

“forbids a person acting under color of law to disqualify a potential voter because of

his or her failure to provide unnecessary information on a voting application.”

Schwier v. Cox, 340 F.3d 1284, 1294, 1296-97 (11th Cir. 2003).

      Congress wanted to eliminate specific types of practices state and local

registrars used to reject applicants, such as “failing to calculate their age to the day,

misspelling Louisiana, underlining Mr. when it should have been circled, or the

Catch-22 of identifying their skin color as Negro instead of brown, or brown instead

of Negro.” Penn. State Conf. of NAACP Branches, 97 F.4th at 126 (cleaned up)

(citing the Report of the U.S. Commission on Civil Rights 1963). Other registrars

required applicants to “analyze long sections of the Constitution” in addition to

rejecting registrations for “simple misspellings.” Callanen, 89 F.4th at 487 (citing

H.R. Rep. No. 88-914). Because of the differing standards, or variances in how

individual registrars applied state standards, Congress wanted both to protect

minorities’ right to vote and for state and local election officials to

      (1) apply standards, practices, and procedures equally among individuals
      seeking to register to vote; (2) disregard minor errors or omissions if they are
      not material in determining whether an individual is qualified to vote;
      (3) administer literacy tests in writing.


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H.R. Rep. No. 88-914 (Nov. 20, 1963), reprinted in 1964 U.S.C.C.A.N. 2391, 2491.2
      Appellees and Cross-Appellants want courts to apply the Materiality

Provision beyond voter registration to include the birthdate requirements for

absentee ballots. In re Georgia Senate Bill 202, 2023 WL 5334582, at *10; Ga. Code

Ann. § 21-2-385(a). The logical end of such a theory would be that the Materiality

Provision preempts a whole host of state “ballot-casting rules” even where they are

not “related to a voter’s qualifications to vote.” Penn. State Conf. of NAACP

Branches, 97 F.4th at 134-35.3 Citing to Pennsylvania law, the Third Circuit

questioned whether laws requiring secrecy envelopes improperly marked to be set

aside, voters to use the “same pen or pencil” when completing their ballots, voters

to complete the outer envelope, or laws barring overvoting would stand. Id. at 134.

The court observed that the Appellees’/Cross-Appellants’ legal theories would

ensure that the Materiality Provision “would preempt many [ ] ballot-casting rules



2
  The history behind the Materiality Provision cannot supplant a court’s textual
analysis, but it can help explain why Congress used certain terms. Frank H.
Easterbrook, The Role of Original Intent in Statutory Construction, 11 Harv. J.L. &
Pub. Pol. 59 (1988). Here, the history and text align to render a logical and
compelling statutory interpretation.
3
  See also id. at 129, where the Third Circuit recites the major holdings of the
underlying decision, especially the determination that dating and signature
requirements were not “material to the act of voting” because neither the signature
nor the date were used to “determin[e] a voter’s qualification under Pennsylvania
law.”

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because none are related to a voter’s qualifications.” Id. at 134-35. Because of this

overbreadth, the Third Circuit concluded that the Materiality Provision “applies to

determinations that affect a voter’s eligibility to cast a ballot” and “its application

necessarily is limited to ‘records or papers’ used in that process.” Id. at 132.

      Several canons of statutory construction guide court interpretations of the

Materiality Provision. Expanding the analysis to examine § 10101 as a whole,4

Congress understood the distinction between voting qualifications and vote casting.

Congress used similar phrases in (2)(A) to the Materiality Provision, prohibiting

states from applying “any standard, practice, or procedure different from the

standards, practices, or procedures applied under such law or laws to other

individuals within the same county, parish, or similar political subdivision” when

officials are “determining whether any individual is qualified under State law or laws

to vote in any election.” 52 U.S.C. § 10101(a)(2)(A) (emphasis added). Subsection

(2)(C) bars literacy tests as qualifications for voting in any election, unless the

jurisdiction adheres to certain procedures. Id. § 10101(a)(2)(C). In subsection (b),

Congress barred anyone from “interfering with the right … to vote or to vote as he

may choose” through intimidation, threats, coercion, or attempts to do so for federal


4
 See Lanier v. U.S. Att’y Gen., 631 F.3d 1363, 1365-66 (11th Cir. 2011) and Antonin
Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts 167-69
(Ch. 24, Whole-Text Canon) (2012).


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elected officials. Id. § 10101(b). Between subsections (a)(2) and (b), then, Congress

distinguished between determining whether someone is qualified to vote and casting

votes.

         Finally, subsection (e) confirms that Congress understood how these distinct

voting-related events progress because subsection (e) defines the term “vote” to

include both “registration or other action required by State law prerequisite to

voting” as well as “casting a ballot, and having such ballot counted and included in

the appropriate totals of votes cast.” Id. § 10101(e) (emphasis added). That is,

Congress knew how to distinguish between registration and voting. See, e.g., Dep’t

of Homeland Sec. v. MacLean, 574 U.S. 383, 394 (2015). 5

         Appellees’/Cross-Appellants’ position disregards the statutory language and

renders the “any …. other act requisite to voting” language superfluous.6 Indeed,

Congress had no reason to employ the list “application, registration, or other act

requisite to voting” if it intended the Materiality Provision to reach all voting-related

papers, especially since subsection (e) already defined the term “vote” to include “all



5
  In a dispute about whistleblower protections and the inclusion of the term “‘law’
in close connection with the phrase ‘law, rule, or regulation’ provides the necessary
‘clear showing’ that ‘law’ does not include regulations.” 574 U.S. at 393-94. Such
semantics demonstrated that “Congress knew how to distinguish between
regulations that had the force and effect of law and those that did not.” Id. at 394.
6
    See Scalia & Garner, Reading Law 174-79 (Ch. 26, Surplusage Canon).

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action necessary to make a vote effective including, but not limited to,

registration….” 52 U.S.C. § 10101(e); see also id. § 10101(a)(2)(B) (adopting

subsection (e)’s definition). If Congress intended the theory pressed by

Appellees/Cross-Appellants, that “result could quite easily have been obtained by

saying something much simpler,” Stanovsek v. Holder, 768 F.3d 515, 517 (6th Cir.

2014), such as that the right to vote may not be denied “because of an error or

omission on any record or paper relating to voting.” 52 U.S.C. § 10101(a)(2)(B). If

that is what Congress intended, it is curious that it used a “decidedly awkward way

of expressing [that] intent” with a cumbersome three-part list. Will v. Mich. Dep’t of

State Police, 491 U.S. 58, 64 (1989).

      Focusing on the text of (a)(2), “where general words follow specific words in

a statutory enumeration, the general words are construed to embrace only objects

similar in nature to those objects enumerated by the preceding specific words.”

Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 114-15 (2001).7 The specific words

in the text prohibit state and local officials from denying the right to vote “because

of an error or omission on any record or paper relating to any application,

registration, or other act requisite to voting” and clarifies that the error or omission

must not be material when determining if the prospective voter “is qualified under


7
  Justice Kennedy explaining the application of ejusdem generis to statutory
construction. See also Scalia & Garner, Reading Law 199-213.

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State law to vote.” 52 U.S.C. § 10101(a)(2)(B). Specific words, like “application”

and “registration” necessarily limit the types of “errors or omissions” to the “records

or papers” which are the subject of the statute. “Those specific words limit the scope

of the relevant paperwork in a way that coheres with the statute’s voter qualification

focus.” Penn. State Conf. of NAACP Branches, 97 F.4th at 132.

      B.     The District Court Did Not Have the Benefit of More Recent
             Circuit Court Opinions
      The District Court issued its decision on August 18, 2023. Nearly four months

later, the Fifth Circuit released its decision in Vote.org v. Callanen, and over seven

months later, the Third Circuit released its opinion in Penn. State Conf. of NAACP

Branches. Both Circuits reached the opposite conclusion reached by the District

Court in this case.

      The Fifth Circuit found that Texas’ law requiring wet signatures on voter

registration forms was material and, thus, consistent with the Materiality Provision.

The Third Circuit upheld Pennsylvania’s requirements that outer envelopes

enclosing absentee ballots be signed and dated. The Third Circuit concluded that the

Materiality Provision does not apply to balloting. Because the Circuits released these

opinions after the Northern District of Georgia, the court did not have the benefit of

the appellate courts’ analysis of the Materiality Provision.

      The District Court in this case heavily relied on the district court’s underlying

decision in Penn. State Conf. of NAACP Branches. The District Court, for example,
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used the Western Pennsylvania District’s reasoning to reject Appellants’ position that

the plain language applied only to voter qualifications and to support its conclusion

that returning an absentee ballot and completing the outer envelope are both acts

“requisite to voting.” In re Georgia Senate Bill 202, 2023 WL 5334582, at *9-10.

      The Third Circuit’s decision reversed these holdings. After discussing why

Congress enacted the Materiality Provision, the court noted that states “have separate

bodies of rules for separate stages of the voting process.” Penn. State Conf. of

NAACP Branches, 97 F.4th at 129-30. The two specific stages referenced by the

court includes “voter qualification, [which] deals with who votes” while the other

stage “deals with how ballots are cast by those previously authorized to vote.” Id. at

130 (emphases original). Reading the whole context of the statute, the Third Circuit

concluded that the “Materiality Provision targets laws that restrict who may vote. It

does not preempt state requirements on how qualified voters may cast a valid ballot.”

Id. at 131. Because the text does not preempt state requirements on how qualified

voters may cast ballots, the Third Circuit cabined the Materiality Provision to the

“process of determining a voter’s eligibility to cast a ballot.” Id. at 135 (emphasis

original).

      The Fifth Circuit rejected a challenge to a Texas law requiring prospective

voters to physically sign their registration form—called a “wet signature.” Texas

used the wet signature requirement to ensure that voters understood state eligibility

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requirements, such as “age, citizenship, residency, capacity, and criminal history.”

Callanen, 89 F.4th at 487. The Legislature wanted the applicant both to certify that

he met the qualifications and understood the consequences for fraudulently

registering. Id. at 488-89. The Materiality Provision clearly applied to this

registration requirement. Because Texas justified the wet signature requirement as

advancing voter integrity, the Fifth Circuit found it was “legitimate … and … a

material requirement.” Id. at 489. Public confidence and election integrity are

legitimate state goals, signatures are material to achieving those goals, and, thus,

consistent with the Materiality Provision.

        C.     All States in the 11th Circuit Have Requirements Similar to
               Georgia’s Birthdate Requirement
        Equally concerning is what would happen to other state confidence-building

and election integrity laws in states across the 11th Circuit if the District Court’s

analysis is upheld. Alabama, Florida, and Georgia all have laws regulating the act of

voting that, like those challenged in the instant litigation, have little-to-no

relevance—i.e. materiality—to determining the voter’s qualifications to vote. 8 If the

District Court’s opinion stands, each of these laws would automatically be suspect.

        Alabama, for example, requires prospective absentee voters to list their name,

residence address, or “such other information necessary to verify that the applicant


8
    See, e.g., Penn. State Conf. of NAACP Branches, 97 F.4th at 129.

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is a registered voter” when applying for an absentee ballot. Ala. Code § 17-11-4.

Similarly, when returning the absentee ballot, the state requires voters to include the

affidavit on the outer envelope, state their place of residence, state their reason for

voting absentee, sign the ballot, include the signatures of two witnesses or the

signature of a notary public, and state – like Georgia – the voter’s date of birth. Id.

§ 17-11-7; see also id. § 17-11-9 (reiterating the requirement that the voter have his

signature on the outer envelope witnessed by two individuals or notarized). 9

      A voter requesting a vote-by-mail or absentee ballot in Florida may do so in

person, in writing, by telephone, or through the supervisor of election’s website. If

requesting the ballot in person, through the telephone, or through the website, the

voter must provide either his state-issued identification number (driver’s license or

ID card) or the last four digits of his social security number. If requesting the ballot

in writing, he must provide his identification number and sign the request. Fla. Stat.

§ 101.62.

      When returning an absentee ballot, Florida law requires voters to sign their

name on the outer return envelope to allow officials to match the signatures with

those in the voter files. Fla. Stat. § 101.65. The same law limits voters to marking



9
 Ala. Code § 17-11-10(c)(2) prohibits election officials from opening an outer
envelope or counting the ballot if it is unsigned, unmarked, or lacking the witness or
notary signature.

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“only the number of candidates or issue choices for a race as indicated on the ballot”

and requires voters to “completely fill out the Voter’s Certificate on the back of the

mailing envelope.” Id. The Voter’s Certificate requires the voter to print his name,

swear (or affirm) that he is qualified and has not voted more than once, and then to

sign and list his residence address. Fla. Stat. § 101.6103. While material to

identifying the voter who is casting the absentee ballot, these requirements are not

material to determining that voter’s qualification to register because the voter already

has been registered to vote.

      Voters in Georgia who wish to cast absentee ballots must first apply to the

relevant officials using forms made available by the Secretary of State. The forms

require voters to provide their “date of birth, address as registered, address where

the elector wishes the ballot to be mailed, and the number of his or her Georgia

driver’s license or identification card.” Ga. Code Ann. § 21-2-381. That same

provision requires voters to sign the absentee ballot application form “with a pen and

ink.” Id. 10 In addition to requiring absentee voters to list their birthdates, Georgia

requires each voter to sign an oath, affirm his eligibility to participate in the relevant



10
   In an unrelated case, plaintiffs have challenged the “pen and ink” signature
requirement for absentee ballot application forms alleging that it also violates the
Materiality Provision. Vote.org v. Georgia State Election Bd., 661 F. Supp. 3d 1329
(N.D. Ga. 2023) (finding that plaintiffs have standing and denying defendants’
motion to dismiss).

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election and include his identification number (driver’s license, state issued

identification, or social security number). Ga. Code Ann. § 21-2-385. 11

      Voters requesting an absentee ballot are properly registered. That is to say, the

relevant election official has already determined the voter satisfies the state’s

eligibility requirements and enrolled him on the list of voters. When voters fail to

follow the rules for requesting or casting an absentee ballot, those individuals “are

not denied the right to vote.” Penn. State Conf. of NAACP Branches, 97 F.4th at 135.

Instead, when an individual fails to follow a state’s rules for requested or casting an

absentee ballot, “th[at] voter has failed to follow a rule … that renders his ballot

defective under state law.” Id.

      States have a strong, legitimate interest in protecting “the integrity and

reliability of the electoral process.” Crawford, 553 U.S. at 190, citing Harper v.

Virginia Bd. of Elections, 383 U.S. 663, 788 n.9 (1966). In Crawford, the Supreme

Court sustained Indiana’s requirement that voters show state-issued identification

prior to casting a ballot. Yet, showing identification at the time an individual attempts

to vote is immaterial to determining whether that individual is qualified.

      Similarly, in Brnovich, the Supreme Court sustained two restrictions on

voters. The first required voters choosing to cast ballots in-person to do so in their


11
  Ga. Code Ann. § 21-2-385, in part, is the subject of this appeal. Ga. Code Ann.
§ 21-2-384(b)-(c) includes the text of the oath absentee voters must sign.

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own precincts. The second restricted individuals who collect absentee or mail-in

ballots to immediate family members or caregivers, election officials, and postal

workers. When sustaining the latter restriction, the Court recognized the broad

authority states have to combat fraud and enhance public confidence in elections. In

doing so, it rejected the Ninth Circuit’s position that allegations of fraud “were

tenuous in large part because there was no evidence that fraud in connection with

early ballots had occurred in Arizona.” Brnovich, 594 U.S. at 685-86. States may

also legislate to prevent pressure and intimidation, and even enact legislation to

prevent problems from occurring. Id. at 686 (Arizona was likely aware of problems

in other states and the “Legislature was not obligated to wait for something similar

to happen closer to home.”)

      Like the birthdate requirement in the instant case, the measures enacted by

Indiana and Arizona applied only to voters who were already registered. That is to

say, the relevant election officials determined the voters satisfied eligibility

requirements and enrolled them. The measures affirmed by the Supreme Court, then,

were not “material” for determining whether an individual is qualified to vote –

showing identification at a polling location or to request an absentee ballot only




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proves the person doing so is, in fact, who he claims to be; his name should already

appear on the rolls – nor was the limitation on who may return a ballot.12

      Because the Supreme Court has upheld state laws protecting the integrity of

the voting process, the Materiality Provision cannot preempt them. The danger in

the Provision’s expansive reading, as interpreted by the District Court, is that nearly

every state law governing how voters can request, mark, or return absentee ballots

or vote in-person ballots will be subsumed within the Provision’s requirements. This

is not the end that Congress envisioned and certainly not consistent with the Supreme

Court’s decisions in Crawford and Brnovich.

                                    CONCLUSION

      The Materiality Clause’s text limits its application to the voter registration

process. Congress enacted it to prevent states from demanding information irrelevant

to determining a voter’s qualifications under state law, such as the voter’s age to the

month and day, misspelling a state’s name, or circling options when they should have

been underlined. Congress did not intend for the Provision to apply to laws



12
  The Materiality Provision arguably may not apply to showing an identification to
vote in-person, as such an act relates neither to a “paper or record,” though it gives
a voter access to a paper in the form of a ballot in the polling place. But the Arizona
law limits who may return a ballot, which under the opinion of the District Court,
would be considered a “paper or record … requisite to voting” since it found a right
within the provision for voters to have “one’s ballot ‘counted and included in the
appropriate totals of votes” which includes “all action necessary to make a vote
effective.” In re Georgia Senate Bill 202, 2023 WL 5334582, at *9.
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governing the vote-casting process and Supreme Court decisions reflect states’

authority to protect the integrity of the electoral process.

      For these reasons, the Court should reverse the decision of the District Court.

Dated: July 8, 2024
                                                Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

        1.   This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) and Fed. R. App. P. 29(a)(5) because the brief contains 4,830 words,

excluding the parts of the brief exempted by Fed. R. App. P. 32(f) and 11th Cir. R.

32-4.

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                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on July 8, 2024, the Brief of Amicus

Curiae Center for Election Confidence, Inc. was filed electronically through the

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e-mail notification of such filing to all attorneys of record.

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